Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 1 of 31 PagelD #:1

[If you need additional space for ANY section, please attach an additional sheet and reference that section.] SM

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

 

 

- EASTERN DIVISION

1:21-cv-05014

M chow Mauo Judge Robert M. Dow. Jr
N Magistrate Judge M. David Weisman

PC7

Direct ro r C fe
(Enter above the full name IVED
of the plaintiff or plaintiffs in uf
this action) SEP 2 1 2021

THOMAS G. BRUTON
vs. Case No: CLERK, U.S. DISTRICT COURT

 

| (To be supplied by the Clerk of this Court)
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Conk County ShecitS: Dept Tom Dart CCDOC

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not

 

use "et al.")
CHECK ONE ONLY: AMENDED COMPLAINT

K COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 2 of 31 PagelD #:2

Il.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Plaintiff(s):
A. Name: phich aol Cooper Lo. 4O
B. List all aliases: MIA

f

C. Prisoner identification number: _ el ell Zz 20 a 7

D. Place of present confinement: _( 00k Coumly fail
2106 Jexth Cal-for,

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E. Address: ite

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(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A. Defendant: CCHNoOC Medical SLa fF
Title:
Place of Employment: _ (a0 K County Tai [

B. Defendant: Cer Mak Health Secu) ces

 

Title:

Place of Employment: Cook C. rit s Ly Je cf

 

C. Defendant: Cook Caunty Sheciff£5 Lept Tom bet

Title: Shei £§
Place of Employment: OOK County Wat

(if you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

Z Revised 9/2007

(if you need additional space for ANY section, please attach an additional sheet and reference that section. ]
Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 3 of 31 PagelD #:3

{If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Ill. List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A.

Name of case and docket number: NV Sf
Approximate date of filing lawsuit: A US; Ft

List all plaintiffs (if you had co-plaintiffs), including any aliases: Ly L fi

 

 

 

 

. List all defendants: AL / AA

 

 

 

Court in which the lawsuit iS filed (if federal court, name the district; if state court,

name the county): Ly L y

Name of judge to whom case was assigned: Li, ti Zi

Basic claim made: WV Lp 4

 

 

 

Disposition of this case (for¢xample: Was the case dismissed? Was it appealed?
Is it still pending?): A/ 2

 

 

Approximate date of disposition: AL /, fi

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 4 of 31 PagelD #:4

{If you need additional space for ANY section, please attach an additional sheet and reference that section.]

IV. Statement of Claim:
State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth

each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

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Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 5 of 31 PagelD #:5

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Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 6 of 31 PagelD #:6

{If you need additional space for ANY section, please attach an additional sheet and reference that section d

Vv. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

Lercty the Court Sinds my Claim loth com lef
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VI. The plaintiff demands that the case be tried by ajury. 62 yes 1 no

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signed this if th day of Aug 20 af

Ynfost C, Dhage

(Signature of Pint or plaintiffs)

LM chae! May oO

(Print name)

201F 10270 27
(I.D. Number)

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(Address)

 

 

6 Revised 9/2007
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Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 8 of 31 pea mee
COOK COUNTY SHERIFF’S OFFICE _— E uh t

(Oficina del Alguacil de! Condado de Cook) [xe bivelme Wa oie
INMATEGRIEVANCE FORM

(Formulario de Queja del Preso)
Dale Ob RONEN EOR-) OO) Jen b Ee) MINN VN eel A Osetia @) a EMaceleem cm [oplle lem yeloM Om am sere Xe gL ke (Mag aR 1A 7 |
LJ CermakHealth Services
C1) Superintendent:

    
 

   

 

    

 

 

    
   

     

 
  

Emergency Grievance
(] Grievance

     

 

 

 

 

 
 

[1 Non-Compliant Grievance 0 Other:
PRINT - INMATE LAST NAME (Apellido del Preso): PRINT - FIRST NAME ine Nombre): INMATE BOOKING NUMBER (#de identifiaacidn delPreso)
Mase Lipichae | 2013 112 FOAL
DIVISION (Division): LIVING UNIT (Unidad): DATE(Fecha): a
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Your grieved issue must meet ail criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies.

The grieved issue is not one of the following non-grievable matters: inmate classification including designation ofan inmate asa securityrisk or protective custodyinmate, ordecisions oftheinmate
disciplinary hearings officer.

The grieved issue must have occurred within the last 15 calendar days untess the allegation is of sexual assault, sexual harassment, sexual abuse or voyeurism. If the grievance includes an
allegation of sexual assault, sexual harassment, sexual abuse or voyeurism notime limits exist. If you believe anexception applies please see a CRW (Correctional Rehabilitation Worker.)

The grieved issue must not be a repeat submission ofa grievance collected within the last 15 calendar days.

The grieved issue must not be a repeat submission ofa grievance that previouslyreceiveda response and was appealed.

The grieved issue must not be a repeat submission of a grievance that previously received a response and you chose notto appeal theresponse within 15 calendar days

The grieved issue must not contain offensive or harassing language.
Thegrievance form must not contain more than oneissue.
Thegrievance issue mustnot pe jai i

 
 

    
 

   
  
 

 

tain tonon-jail related concerns suchas with arresting agencies, judicial matters, or medical staffat outh

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El asunto de la queja tiene que satisfacer todo el criteria listado més abajo para obtener un ntimero de control, para ser apelado y/o agotar todos los remedios posibles.

El asunto de la queja no puede ser ninguno de los siguientes temas, que no se consideran quejas formales: Clasificacién del preso incluyendo designatién delpreso. Tal comoriesgode —
seguridad o custodia de proteccién para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.

El asunto de la queja formal tiene que haber pasado en fos ulti 15 dias calendarias a que la acusacion sea de acoso sexual, sexual hostigamiento, sexual abuso. O voyerismo. Sila queja
incluye acusaciones de acoso sexual, hostigamiento, voyerismo, o abuso, no existe tiempo limite. Si usted cree que existe una excepcidn, hable o vea a un Trabajador de Rehabilitacién Correccional
(TRC/CRW).

El asunto de la queja no puede ser una repeticién de una queja sometida en jos ultimos 15 dias calendarios.

El asunto de la queja no puede ser una repeticién de una queja previamente recibida y la cual ya ha recibido una respuesta y fue apelada.

El asunto de la queja no puede ser una repeticién de una queja previamente reciba y la cual ya ha recibo una respuesta y usted recibida no someter una apelacin sobre la decisigndadaen _

los 15 dias calendarios: « , : : os , :

El asunto de la queja no puede centener lenguaje ofensivo o amenazante

La solitud de la queja no puede contener mas de un asunto.

El asunto de la queja no puede corresponder a asuntos no relacionados con la carcel tal como preocupaciones sobre la agencia de arresto, asuntos judiciales, o empleados médicos de

hospitales periférices, etc.

 

 

 

 

 

 

 

 

 

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NAMEOF STAFFOR INMATE(S) HAVING INFORMATION REGARDING THISCOMPLAINT: INMATE SIGNATURE: (Firma delPreso):

 
  

 

  
    
  
 

 

(Nombre delpersonaio presos que tengan informaci6n:) * / ~
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CRW/PLATOON’ COUNSELOR (Print):
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SUPERINTENDENT/DIRECTOR/DESIGNEE (Print): SIGNATURE: DATE REVIEWED:

 

 

 

 

 

(FCN-73)(NOV 17) (WHITE COPY — INMATE SERVICES) (YELLOW COPY — CRW/PLATOON COUNSELOR) (PINK COPY — INMATF)
 

Case: 1:21-cv-05014 Document #: 1 Fileg%,09/21/21 Page 9 of 31 PagelD #:9

COOK COUNTY SHERIFF’S OFFICE
«Oficina Del Alguacil del Condado de Cook}

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To exhaust administrative remedies, grievance appeals must be made within 15 calendar days of the date the inmate received the response. An

appeal must be filed in all circumstances in order to exhaust administrative remedies.

{Con el fin de agotar los recursos administrativos, fas apelaciones de las quejas se deben realizar en el plazo de 15 dias después de que el recluso
" haya recibido Ja respuesta. La apelacién se debe enviar en todos los casos a fin de agotar los recursos administrativos.)

 

 

 

 

ADMINISTRATOR/DESIGNEE’S ACCEPTANCE OF INMATE’S APPEAL? Yes (5) Li te .
(Apelacién del pee aceptada por el administrador 0/su designado(a)?) ‘toc ~\ SS / | ya)
y- La
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OR RECOMMENDATION: (Decision 0 recomendacién por parte del annseed 1 o/su designado{a):}

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DIR! RECTOR/DESIG BNEE Aa inistrador o/su Designado{a}): SIG RETA

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FE SIGNATURE (Firma de! Preso}:

WI), WAU

(FCN-72) (NOV 17)

  

 

 

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Case: 1:21-cv-05014 Document #: 1 Filed: 09/21/21 Page 10 of 31 PagelD #:10

 

 

 

 

 

 

 

 

 

 

 

 

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COOK COUNTY SHERIFF’S OFFICE Exhibt 86
(Oficina del Alguacil de! Condado de Cook) OTTO i WTO
INMATE GRIEVANCE FORM
(Formulario de Queja del Preso}
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QO) Grievance C1] Superintendent:
0 Non-CompliantGrievance - 0 Other:
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Your grieved issue must meet all criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies..
The grieved issue is not one of the following non-grievable matters: inmate classification including designation of an inmate asa securityrisk or protective custodyinmate, ordecisions oftheinmate
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The grieved issue must have occurred within the last 15 calendar days unless the allegation is of sexual it, sexual har , sexual abuse or voyeurism. if the grievance includes an
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The grieved issue must not contain offensive or harassing language.
Thegrievance form must notcontain more than oneissue.

 
     

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El asunto de fa queja no puede ser ninguno de los siguientes temas, que nose consideran quejas formates: Clasificacién del preso incluyendo designacién del preso. Tai como riesgo de
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El asunto de la queja formal tiene que haber pasado en los dltimos 15 dias calendarias a menos que la acusacién sea de acoso sexual, sexual hostigamiento, sexual abuso. O voyerismo. Sila queja
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El asunto de fa queja no puede ser una repeticion de una queja sometida en los tltimos 15 dias calendarios.
El asunto de la queja no puede ser una repeticion de una queja previamente recibida y la cual ya ha recibido una respuesta y fue apelada.
El asunto de la queja no puede ser una repeticién de una queja previamente reciba y ta cual ya ha recibo una respuesta y usted recibida no someter una apelacién sobre la decisién dada en
jos 15 dias calendarios.
El asunto de la queja no puede contener lenguaje ofensivo o amenazante ~
La solitud de fa queja no puede contener mds de un asunto.
EI asunto de la queja no puede corresponder a asuntos no relacionados con la cércel tal como preocupaciones sobre fa agencia de arresto, asuntos judiciales, o empleados médicos de

pitales periféricos, ete.

 

 

 

 

 

 

 

 

 

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NAME OF STAFF OR INMATE(S) HAVING INFORMATION REGARDING THIS COMPLAINT:
{ Nombre de! personalo presos que tengan ing ee oy

 

 

     
 

 
  

 

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*21-cv-05014 Document #: 1 Filed: 09/21/21 Page 12 of 31 PagelD #:12

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(Gficina Del Alguacil de! Condado de Cook} peo —_ Co

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IMMEDIATE CRW RESPONSE {if applicable):

 

  

 

 

 

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{Con el fin de agotar los recursos administrativos,

fas apelaciones de las quejas se deben realizar en el plazo de 15 dias después de que el recluso
haya recibido la respuesta.

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DATE OF INMATE’S REQUEST FOR AN APPEAL: (Fecha de Ia solicitud de la apelacién dei preso:) #4, ay {5  /2zo

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ADMINISTRA ATOR/DESIGNEE” S ACCEPTANCE OF INMATE’S APPEAL?

Yes = o a ~
(Apelacién del preso aceptada por el administrador o/su designado(a) 2) Re el By, / 13/20
INMATE SERVICES DIRECTOR/DESIGNEE’S DE

CISION OR RECOMMENDATION: (Decision o recomendacion por parte del administrador o/su designado(a):) ?

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INMATE SERVICES DIREQFOR]DESIC Administrador o/su Designado{a})}: enanne aS del. ador o/su Designado(a): oe DATE (Fecha):
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COOK COUNTY SHERIFF'S OFFICE ' Ex A jof C
(Oficina del Alguacil det Condado de Cook)

INMATE GRIEVANCE FORM
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The grieved issue is not one of the following non-grievable matters: inmate classification including designation ofan inmate asa secu rityrisk or protective custodyinmate, or decisions ofthe inmate
disciplinary hearings officer.

The grieved issue must have occurred within the last 15 calendar days unless the allegation is of sexual assault, sexual harassment, sexual abuse or voyeurism. If the grievance includes an

 

 

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The grieved issue must not bea repeat submission of a grievance collected within the last 15 calendar days. ? .
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The grieved issue must not bea repeat submission of a grievance that previously received a response and you chose notto appeal the response within 15 calendar days
The grieved issue must not contain offensive or harassing language. :

The grievance form must not contain more thanone issue.
The grievance issue mustnot pertain to non-jail

  

 

El asunto de la queja tiene que satisfacer todo el criterio listado mas abajo para obtener un numero de control, para ser apetado y/o agotar todos los remedios posibles.

El asunto de fa queja no puede ser ninguno de los siguientes temas, que nose consideran quejas formales: Clasificacién del preso incluyendo designacidn del preso. Tal como riesgo de

seguridad o custodia de proteccién para los Presos, o decisiones del oficial de audiencias disciplinarias para los presos.

El asunto de la queja formal tiene que haber pasado en los Gttimos 15 dias calendarias a menos que la acusacién sea de acoso sexual, sexual hostigamiento, sexual abuso. O voyerismo. Sila queja
inchuye acusaciones de acoso sexual, hostigamiento, voyerismo, o abuso, no existe tiempo limite. Si usted cree que existe una excepcién, hable o vea a un Trabajador de Rehabilitacién Correccional
(TRC/CRW).

El asunto de la queja no puede ser una repeticién de una queja sometida en los tiltimas 15 dias calendarios.

El asunto de la queja no puede ser una repeticion de una queja previamente recibida yla cual ya ha recibido una respuesta y fue apelada.

El asunto de la queja no puede ser una repeticion de una queja previamente reciba yla cual ya ha recibo una respuesta y usted recibida no someter una apelacién sobre la decisién dada en

fos 15 dias calendarios.

El asunto de la queja no puede contener lenguaje ofensivo o amenazante

La solitud de la queja no puede contener mas de un asunto.

Ef asunto de la queja no puede Corresponder a asuntos no relacionados con fa carcel tal como Preocupaciones sobre la agencia de arresto, asuntos judiciales, o empleados médicos de

hospitales periféricos, etc.

 
  

 
    

 

  

  
 

 

 

 

 

 

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COOK COUNTY SHERIFF'S OFFICE Exhibt BD
(Oficina del Aiguacil del Condado de Cook) [cease eras

INMATE GRIEVANCE FORM
{Formulario de Queja del Preso)

   

 

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The grieved issue is not one of the following non-grievable matters: inmate classification including designation of an inmate asa securityrisk or protective custodyinmate, or decisions ofthe inmate
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Thegrieved issue must not bea repeat submission ofa grievance that previously received a response and you chose not to appeal the response within 15 calendar days

Thegrieved issue must not contain offensive or harassing language.

Thegrievance form must not contain more than one issue.

The grievance issue must not pertain to non-jail related concerns such as with arresting agencies, judicial matters, or medical staff at out!

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El asunto de la queja tiene que satisfacer todo el criterio listado mas abajo para obtener un nimero de control, para ser apelado y/o agotar todos los remedios posibles.

El asunto de fa queja no puede ser ninguno de jos siguientes temas, que nose consideran quejas formales: Clasificacién del preso incluyendo designacién del preso. Tai como riesgo de

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COOK COUNTY SHERIFF’S OFFICE
"(Oficina Del Alguacil del Condado de Cook}

«7 INMATE GRIEVANCE RESPONSE/APPEAL FORM
“a: (Formulario de Queja del Presa/ Apelacién)

 
    

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INMATE FIRST NAME (Primer Nombre): D Number (# de ‘dentificacién):

 

  
 

 

 

 

 

 

GRIEVANCE ISSUE AS DETERMINED BY CRW. _ We jek
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IMMEDIATE CRW RESPONSE (if applicable):

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CRW/ REFERRED THIS GRIEVANCE TO ( Example: Superintendent, Cermak Health Services ): 7

DATEREFERRED:

 

 

 

 

 

 

 

 

 

To exhaust administrative remedies, grievance appeals must be made within 15 calendar days of the date the inmate received the response. An
appeal must be filed in ail circumstances in order to exhaust administrative remedies.

(Con el fin de agotar los recursos administrativos, las apelaciones de las quejas se deben realizar en el plazo de 15 dias después de que ef recluso
haya recibido la respuesta. La apelacién se debe enviar en todos los casos a fin de agotar los recursos administrativos.}

 

 

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ADMINISTRATOR/DESIGNEE’S ACCEPTANCE OF IN ATE’S APPEAL? °“ Yes (si) O ty
(Apelacién del preso aceptada por el administrador ofsu designado{a)?}
INMATE SERVICES DIRECT! OR/DESIGNEE’S DeSSION OR RECOMMENDATION: (Qecisitm o recomendacion Por parte del administrador o/su designgdo(a):}

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INMATE SERVICES DIRECTO

        
    
  

 

 

 

 

 

 

      
        

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COOK COUNTY SHERIFF’S OFFICE E x l, i b t E
(Oficina del Alguacil del Condado de Cook) eto) bite) a

INMATE GRIEVANCE FORM
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O Superintendent:

 
  

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O Non-CompliantGrievance 0 Other:
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(Nombre del, Reson presos que tengan informacién: }

 
 

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COOK COUNTY SHERIFF'S OFFICE TV PRA Jo
(Oficina Del Alguacil dei Condado de Cook) a may PCy

INMATE GRIEVANCE RESPONSE/APPEAL FORM

(Formulario de Queja del Preso/ Apelacién)

  
   
   

 

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GRIEVANCE ISSUE AS DETERMINED BY CRW: / oma oy Pe

 

IMMEDIATE CRW RESPONSE (if applicable):

 

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haya a la respuesta. La apelacidn se debe enviar en todos los casos a fin de agotar los recursos administrativos.}

DATE OF INMATE’S REQUEST FOR AN APPEAL: (Fecha de la solicitud de fa apelacién del preso:) Jing / CG _ GG 6 (Zot

 

 

 

 

ADMINISTRATOR/DESIGNEE’S ACCEPTANCE OF INMATE’S APPEAL? Yes (Si) 0 No SK
(Apelacién del preso aceptada por el,administrador o/su designado(a)?} i

INMATE SERVICES ‘OR/DESIGNEE’S DECISION CM ween IENDATION: FORT dela ext “Oe :)

 

 

 
     
     

 

 

 

 

 

 

 

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(Oficina del Alguacil del Condado de Cook) aqoliasyel a Veale

M7 INMATE GRIEVANCE FORM
(Formulario de Queja del Preso) YN h (A

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The grieved issue must not be a repeat submission ofa grievance collected within the last 15 calendar days.

The grieved issue must not be a repeat submission ofa grievance that previously received a response and was appealed.

The grieved issue must not be a repeat submission of a grievance that previously received a response and you chose not to appeal the response within 15 calendar days
Thegrievedissue must not contain offensive or harassing language.
Thegrievance form must not contain more than one issue.

Thegrievance issue must not pertain to non-jail rela ed concerns such as with arresting agencies, judicial matters or medical staff at out!

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El asunto de la queja tiene que satisfacer todo el criterio listado mas abajo para obtener un ndmero de control, para ser apelado y/o agotar todos los remedios posibles.

El asunto de la queja no puede ser ninguno de los siguientes temas, que no se consideran quejas formales; Clasificacién del preso incluyendo designacién del preso. Tal como riesgo de

seguridad o custodia de proteccidn para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.

El asunto de la queja formal tiene que haber pasado en los Ultimos 15 dias calendarias a menos que la acusacién sea de acoso sexual, sexual hostigamiento, sexual abuso. O voyerismo. Sila queja

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(TRC/CRW),

El asunto de la queja no puede ser una repeticién de una queja sometida en los tiitimos 15 dias calendarios.
El asunto de la queja no puede ser una repeticion de una queja previamente recibida y la cual ya ha recibido una respuesta y fue apelada.

El asunto de ja queja no puede ser una repeticion de una queja previamente reciba y la cual ya ha recibo una respuesta y usted recibida no someter una apelacién sobre la decision dada en
fos 15 dias calendarios.

El asunto de la queja no puede contener lenguaje ofensivo o amenazante
La solitud de la queja no puede contener més de un asunto.

Elasunto de la queja no puede corresponder a asuntos no relacionados con la carcel tal como preocupaciones sobre la agencia de arresto, asuntos judiciales, oempleados médicos de
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COOK COUNTY SHERIFF’S OFFICE
(Oficina del Alguacil del Condado de Cook) colbiate) a3

INMATE GRIEVANCE FORM ,
(Formulario de Queja de! Preso)

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Your grieved issue must meet all criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies.

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The grieved issue must not contain offensive or harassing language.

The grievance form must not contain more than one issue.

 

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El asunto de la queja no puede ser ninguno de los siguientes temas, que no se consideran quejas formales: Clasificacién del preso incluyendo designacién del preso. Tal como riesgo de

seguridad o custodia de proteccién para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.

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los 15 dias calendarios,

El asunto de fa queja no puede contener lenguaje ofensivo o amenazante

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"COOK COUNTY SHERIFF’S OFFICE

(Oficina del Alguacil del Condado de Cook}

INMATE GRIEVANCE FORM en’
(Formulario de Queja del Preso) GB O27 )
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(Formulario de Queja def Preso/ Apelacién)
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GRIEVANCE

 
 
 
  

 

 

 

 

 

 

 

 

 

 

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To exhaust administrative remedies, grievance appeals must be made within 15 calendar days of the date the inmate received the response. An
appeal must be filed in all circumstances in order to exhaust administrative remedies.

(Con el fin de agotar los recursos administrativos, las apelaciones de las quejas se deben realizar en el plazo de 15 dias después de que el recluso
haya recibido fa respuesta. La apetacién se debe enviar en todos los casos a fin de agotar Jos recursos administrativos.}

 

 

ADMINISTRATOR/DESIGNEE’S ACCEPTANCE OF INMATP’S APPEAL? —s ¥é (si) O eg)
(Apelacion del preso aceptada por el administrador o/su designado(a)?)

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INMATE SERVICES DIRECTOR/DESIGNEE’S DECISION OR sent (Decision 0 recomendacién por parte del administrador o/su designado(a):) { \

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~ Inmate Grievance Number: 2020x04912
Numero De Queja

Your allegation(s) have been forwarded to the Offices of Professional
Review and Divisional Superintendent for review and/or investigation.

Su alegacion(es) han sido enviadas a la Oficina del Departamento de Revision Professional
(OPR) y al Superintendente de la Division para una revision y/o investigacion.

You may follow-up with the Office of Professional Review by contacting
their office directly, by utilizing the address below or submitting an
inmate request form, to speak with the Divisional Superintendent.

Usted podra darle seguimiento a su alegacién(es), contactando al Departamento de Revisién

Professional (OPR) de manera directa, utilizando la direccion que esta en la parte de abajo o

sometiendo una Forma de Solicitud de! Preso para poder hablar con el Superviniente de la
Division. ,

To exhaust your administrative remedy (regardless of the OPR
investigation review, determination or outcome) you must appeal this
immediate grievance response within 15 calendar days.

Con el fin de agotar los recursos administrativos (independiente de la revision de la investigacion,

decision o el resultado de OPR) usted debe apelar la respuesta principal de esta queja dentro los
15 dias calendarios.

Office of Professional Review
3026 S. California Ave
Building 2 / 4* floor
Chicago, Illinois 60608

INMATE COPY

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DIVISION (Division): ~ LIVING UNIT (Unidad): DATE (Fecha):
3a Sept 7, 2020

 

 

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Your grieved Issue must meet ail criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies.
The grieved issue ts not one of the following non-grievable matters: Inmate classification Including designation of an inmate asa securltyriskor protective custodyinmate, or decisions ofthe inmate
disciplinary hearings officer.
The grieved issue must have occurred within the last 15 calendar days unless the allegation is of sexual assault, sexual harassment, sexual abuse or voyeurism. If the grievance includes an
allegation of sexual assault, sexual harassment, sexual abuse or voyeurism notime fimits exist. if you belleve an exception appliles please see a CRW (Correctional Rehabilitation Worker.)
Thegrleved Issue must not be a repeat submission ofa grievance collected within the last 15 calendar days.
Thegrieved issue must not be arepeat submission of a grievance that previously received a response and was appealed.

 

 

The grieved issue must not be a repeat submission of a pri that previouslyreceiveda resp and you chose not to appeal the response within 15 calendar days
Thegrieved issue must not contain offensive or harassing language.
Thegrievance form must not contain more than oneissue.

     

El asunto de la queja tiene que satisfacer todo el criterio listado mas abajo para obtener un numero de control, para ser apelado y/o agotar todos los remedios posibies.
asunto de fa queja no puede ser ninguno de los siguientes temas, que no se consideran quejas formales: Clasificacién del preso incluyendo designacién del preso. Tal como riesgo de

seguridad o custodia de proteccién para los presos, o decisiones del oficial de audlencias disciptinarias para jos presos.

El asunto de fa queja formal tiene que haber pasado en los ultimos 15 dias calendarfas a menos que la acusacién sea de acoso sexual, sexual hostigamiento, sexual abuso. O voyerismo. Sila queja
incluye acusaciones de acoso sexual, hastigamiento, voyerismo, o abuso, no existe tiempo limite. Si usted cree que existe una excepcién, hable o vea a un Trabajador de Rehabilitacién Correccional
(TRC/CRW).

El asunto de la queja no puede ser una repeticién de una queja ida en los ulti 15 dias calendarios.

El asunto de la queja no puede ser una repeticién de una queja previamente recibida y la cual ya ha recibido una respuesta y fue apelada.

El asunto de la queja no puede ser una repeticién de una queja previamente reciba y la cual ya ha recibo una respuesta y usted recibida no someter una apelacién sobre la decisién dada en

los 15 dias calendarios.

El asunto de ja queja no puede contener lenguaje ofensivo o amenazante

ta solitud de la queja no puede contener mas de un asunto.

El asunto de la queja no puede corresponder a asuntos no relacionados con la carcel tal como preocupaciones sobre la agencla de arresto, asuntos judiclales, oempleados médicos de

hospitales periféricos, etc.

 

 

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(Oficina de! Alguacil del Condado de Cook)

INMATE GRIEVANCE FORM @ of? \
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DIVISION (Division): 7-7 LIVING UNIT (Unidad): DATE (Fecha):
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Your grieved issue must meet all criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies,
The grieved issue is not one of the following non-grievable matters: inmate classification including designation ofaninmateasa securityrisk or protective custodyinmate, ordecisions ofthe inmate
disciplinary hearings officer.

‘The grieved issue must have occurred within the last 15 calendar days unless the all

 
  

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Thegrieved issue must notbea repeat submission ofa grievance collected within the last 15 calendar days.

  
  
 

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Elasunto de fa queja no puede ser ninguno de los siguientes temas, que no se consideran quejas formales: Clasificacién del preso incluyendo designacién del preso. Tal como tiesgo de
seguridad o custodia de proteccién para los presos, o decisiones del oficial de audiencias disdplinarias para los presos.

El asunto de la queja formal tiene que haber pasado en los ultimos 15 dias calendarias a menos que la acusacién sea de acoso sexual, sexual hostigamiento, sexualabuso. O voyerismo. Sila queja
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(TRC/CRW}.

     

 

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El asunto de la queja no puede contener lenguaje ofensivo o amenazante
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COOK COUNTY SHERIFF’S OFFICE il MATE COPY

(Oficina Del Alguacil del Condado de Cook)
INMATE GRIEVANCE RESPONSE/APPEAL FORM

(Formulario de Queja del Preso/ Apelacion) Ney 1422

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GRIEVANCE ISSUE AS DETERMINED BY CRW:

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CRW/ REFERRED THIS GRIEVANCE TO _( Example: Superintendent, Cermak Health Services ):
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PERSONNEL RESPONDING TO EYEE (Print):
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INMATE SIGNATURE (Firma de! Preso):

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To exhaust administrative remedies, grievance appeals must be made within 15 calendar days of the date the inmate received the response. An
appeal must be filed in all circumstances in order to exhaust administrative remediés.

(Con el fin de agotar los recursos administrativos, las apelaciones de las quejas se deben realizar en el plazo de 15 dias después de que el reclusa
haya recibido la respuesta. La apelacién se debe enviar en todos los casos a fin de agotar los recursos administrativos.}

DATE OF INMATE’S REQUEST FOR AN APPEAL: (Fecha de la solicitud de la apelacién del preso:) Sep fy2r, 2020

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ADMINISTRATOR/DESIGNEE’S ACCEPTANCE OF INMATE’S APPEAL? Yes (Si) O N

(Apelacién del preso aceptada por el administrador o/su designado(a)?)
INMATE SERVICES DIRECTOR/DESIGNEE’S DECISION OR RECOMMENDATION: (Decision o recomendaci6n por parte del administrador o/su designado(a):)

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DATE APPEAL RESPONSE

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INMATE SIGNATURE (Firma del Preso (Fecha en que la respuesta fue

  

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